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                                                                                                  Monthly Operating Report
                                                                                                                          CASH BASIS-1

 CASE NAME:                    Foundation Healthcare, Inc.


 CASE NUMBER:                   17-42571


 CASH RECEIPTS AND                                                     MONTH               MONTH              MONTH              MONTH
 DISBURSEMENTS                                                            JUNE
 1. CASH - BEGINNING OF MONTH                                              121,712.33
 RECEIPTS
 2. CASH SALES
 3. ACCOUNTS RECEIVABLE COLLECTIONS
 4. LOANS AND ADVANCES
 5. SALE OF ASSETS
 6. LEASE & RENTAL INCOME
 7. WAGES
 8. OTHER (ATTACH LIST)   Refunds                                           2,224.20
 9. TOTAL RECEIPTS
 DISBURSEMENTS
 10. NET PAYROLL
 11. PAYROLL TAXES PAID
 12. SALES,USE & OTHER TAXES PAID
 13. INVENTORY PURCHASES
 14. MORTAGE PAYMENTS
 15. OTHER SECURED NOTE PAYMENTS
 16. RENTAL & LEASE PAYMENTS
 17. UTILITIES
 18. INSURANCE                                                                709.17
 19. VEHICLE EXPENSES
 20. TRAVEL
 21. ENTERTAINMENT
 22. REPAIRS & MAINTENANCE
 23. SUPPLIES
 24. ADVERTISING
 25. HOUSEHOLD EXPENSES
 26. CHARITABLE CONTRIBUTIONS
 27. GIFTS
 28. OTHER (ATTACH LIST)   Bank Fees                                             77.74
 29. TOTAL ORDINARY DISBURSEMENTS                                              786.91
 REORGANIZATION EXPENSES
 30. PROFESSIONAL FEES
 31. U.S. TRUSTEE FEES
 32. OTHER (ATTACH LIST)
 33. TOTAL REORGANIZATION EXPENSES
 34. TOTAL DISBURSEMENTS                                                       786.91
 35. NET CASH FLOW                                                          1,437.29
 36. CASH - END OF MONTH                                                  123,149.62




SOAL reported cash amounts of $113,478.05 (page 5, $111,500.85 Cash Accounts + Cash On Hand $1,977.04) compare against beginning cash balances
of $121,712.33, an actual increase of $8,234.28 from SOFA due to the following identified issues:

- SOAL reported Bank SNB FBO balance of $23,528.30 exceeded beginning Bank SNB FBO actual balance of $22,490.79 by $1,037.51.
- SOAL reported Texas Capital Bank UMR account balance of $35,000 exceeded Texas Capital Bank UMR actual balance of 28,368.94
  by $6,631.06 on 6/1/17.
- SOAL reported Texas Capital Bank UMR account balance did not reflect actual account increases of $15,902.85 occurring pre-bankruptcy, 6/1 and 6/21.

Net beginning cash balance increase of $8,234,28 reported = $15,902.85 - $6,631.06 - $1,037.51.
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                                                                                         CASH BASIS-1A


CASE NAME:           Foundation Healthcare, Inc.


CASE NUMBER:         17-42571


CASH DISBURSEMENTS DETAIL                                             MONTH:                    June


                                      CASH DISBURSEMENTS
                        DATE                 PAYEE                          PURPOSE              AMOUNT
                                             None




                     TOTAL CASH DISBURSEMENTS                                                            0



                            BANK ACCOUNT DISBURSEMENTS
      CK#               DATE          PAYEE            PURPOSE                                   AMOUNT
     NA (Bank Fee)        6/30         Valliance Bank                  Bank Fees                        17.74
     NA (Bank Fee)        6/27         Valliance Bank                   Bank Fees                        60.00
         #8311            6/21         Divine Dental Spa                Employee Health Claim           600.00
         #8317             6/21        UMR New Mexico Vaccine Fund      Employee Health Claim           109.17




                     TOTAL BANK ACCOUNT DISBURSEMENTS


TOTAL DISBURSEMENTS FOR THE MONTH                                                                      786.91
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                                                                                                                   CASH BASIS-2


CASE NAME:          Foundation Healthcare, Inc.


CASE NUMBER:       17-42571




BANK RECONCILIATIONS
                                                       Acct #1                 Acct #2             Acct #3
A. BANK:                                          Texas Capital Bank      Valliance Bank           Bank SNB
                                                    001111093512
B. ACCOUNT NUMBER:                                  001111094114               107017980            30007030           TOTAL
C. PURPOSE (TYPE):                                    DIP Acct           Insurance Funding            FBO

1. BALANCE PER BANK STATEMENT                              46,633.98               52,047.81           22,490.79         121,172.58
2. ADD: TOTAL DEPOSITS NOT CREDITED                              0                       0                     0                 0
3. SUBTRACT: OUTSTANDING CHECKS                                  0                       0                     0                    0
4. OTHER RECONCILING ITEMS                                       0                       0                     0                    0
5. MONTH END BALANCE PER BOOKS                             46,633.98              52,047.81             22,490.79        121,172.58
                                                  001111093512 - No Checks
6. NUMBER OF LAST CHECK WRITTEN                   001111094114 - #8317    No   Checks Written   No Checks Written




INVESTMENT ACCOUNTS
                                                       DATE OF                 TYPE OF            PURCHASE             CURRENT
BANK, ACCOUNT NAME & NUMBER                           PURCHASE            INSTRUMENT                 PRICE              VALUE
7.
8.
9.
10.
11. TOTAL INVESTMENTS                                                                                                           0




CASH

12. CURRENCY ON HAND                                                                                                      1,977.04


13. TOTAL CASH - END OF MONTH                                                                                           123,149.62
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                                                                                             CASH BASIS-3


CASE NAME:       Foundation Healthcare, Inc.


CASE NUMBER:      17-42571


ASSETS OF THE ESTATE

               SCHEDULE "A"                      SCHEDULE        MONTH               MONTH       MONTH
              REAL PROPERTY                       AMOUNT           June
1.
2.
3.
4. OTHER (ATTACH LIST)
5. TOTAL REAL PROPERTY ASSETS                                               0
               SCHEDULE "B"
            PERSONAL PROPERTY
1. CASH ON HAND                                       1,977.04        1,977.04
2. CHECKING, SAVINGS, ETC.                          111,500.85      121,172.58
3. SECURITY DEPOSITS                               174,053.19       174,053.19
4. HOUSEHOLD GOODS
5. BOOKS, PICTURES, ART
6. WEARING APPAREL
7. FURS AND JEWELRY
8. FIREARMS & SPORTS EQUIPMENT
9. INSURANCE POLICIES
10. ANNUITIES
11. EDUCATION
12. RETIREMENT & PROFIT SHARING
13. STOCKS
14. PARTNERSHIPS & JOINT VENTURES
15. GOVERNMENT & CORPORATE BONDS
16. ACCOUNTS RECEIVABLE                             170,155.00      170,155.00
17. ALIMONY
18. OTHER LIQUIDATED DEBTS
19. EQUITABLE INTERESTS
20. CONTINGENT INTERESTS
21. OTHER CLAIMS Federal Income Tax Receivable    1,700,000.00    1,700,000.00
22. PATENTS & COPYRIGHTS
23. LICENSES & FRANCHISES                          236,085.77      236,085.77
24. CUSTOMER LISTS
25. AUTOS, TRUCKS & OTHER VEHICLES
26. BOATS & MOTORS
27. AIRCRAFT
28. OFFICE EQUIPMENT
29. MACHINERY, FIXTURES & EQUIPMENT                       1.00            1.00
30. INVENTORY
31. ANIMALS
32. CROPS
33. FARMING EQUIPMENT
34. FARM SUPPLIES
35. OTHER (ATTACH LIST) Summit Mgmt Contract        336,000.00     336,000.00
36. TOTAL PERSONAL PROPERTY ASSETS                2,729,772.85    2,739,444.58
37. TOTAL ASSETS                                  2,729,772.85    2,739,444.58
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                                                                                           CASH BASIS-4

CASE NAME:            Foundation Healthcare, Inc.


CASE NUMBER:          17-42571


                                                                                 MONTH:         June
LIABILITIES OF THE ESTATE

                 PREPETITION                        SCHEDULE
                  LIABILITIES                        AMOUNT          PAYMENTS
1.   SECURED                                          6,284,895.28
2.   PRIORITY                                        1,149,739.16
3.   UNSECURED                                        2,661,197.54
4.   OTHER (ATTACH LIST)
5.   TOTAL PREPETITION LIABILITIES                   10,095,831.98         0


                POSTPETITION                  DATE         AMOUNT         DUE                AMOUNT
                 LIABILITIES                INCURRED        OWED         DATE                PAST DUE
1. FEDERAL INCOME TAXES
2. FICA/MEDICARE
3. STATE TAXES
4. REAL ESTATE TAXES
5. OTHER TAXES (ATTACH LIST)
6. TOTAL TAXES
OTHER POSTPETITION LIABILITIES INCLUDING TRADE CREDITORS (LIST NAMES OF CREDITORS)
7.
8.
9.
10.
11.
12.
13.
14.
15.
16.
17.
18.
19.
20.
21.
22.
23.
24.
25.
26.
27.
28.
29. (IF ADDITIONAL ATTACH LIST)
30. TOTAL OF LINES 7 - 29
31. TOTAL POSTPETITION LIABILITIES                                                                     0
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                                                                                        CASH BASIS-4A

CASE NAME:       Foundation Healthcare, Inc.


CASE NUMBER:      17-42571


                                                                               MONTH:          June
ACCOUNTS RECEIVABLE AGING
                                               SCHEDULE         MONTH           MONTH        MONTH
                                                AMOUNT           June
1.   0 - 30
2.   31 - 60
3.   61 - 90
4.   91 +                                        170,155.00      170,155.00
5.   TOTAL ACCOUNTS RECEIVABLE                   170,155.00      170,155.00
6.   AMOUNT CONSIDERED UNCOLLECTIBLE                   0.00             0.00
7.   ACCOUNTS RECEIVABLE (NET)                   170,155.00      170,155.00




AGING OF POSTPETITION TAXES
AND PAYABLES                                     0 - 30         31-60             90+         Total
TAXES PAYABLE                                    DAYS           DAYS             DAYS
1. FEDERAL
2. STATE
3. LOCAL
4. OTHER (ATTACH LIST)
5. TOTAL TAXES PAYABLE                                    0             0               0             0

6. ACCOUNTS PAYABLE                                       0             0           0             0

STATUS OF POSTPETITION TAXES
                                               BEGINNING       AMOUNT                        ENDING
                                                  TAX          WITHHELD         AMOUNT         TAX
FEDERAL                                        LIABILITY      OR ACCRUED         PAID       LIABILITY
1. WITHHOLDING
2. FICA-EMPLOYEE
3. FICA-EMPLOYER
4. UNEMPLOYMENT
5. INCOME
6. OTHER (ATTACH LIST)
7. TOTAL FEDERAL TAXES
STATE AND LOCAL
8. WITHHOLDING
9. SALES
10. EXCISE
11. UNEMPLOYMENT
12. REAL PROPERTY
13. PERSONAL PROPERTY
14. OTHER (ATTACH LIST)
15. TOTAL STATE & LOCAL
16. TOTAL TAXES                                           0             0           0                 0
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                                                                                                    CASH BASIS-5

CASE NAME:           Foundation Healthcare, Inc.


CASE NUMBER:         17-42571
                                                                                      MONTH:            June


PAYMENTS TO INSIDERS AND PROFESSIONALS

                                  INSIDERS
           NAME           TYPE OF PAYMENT          AMOUNT PAID    TTL PD TO DATE
1.
2.
3.
4.
5.
TOTAL PAYMENTS TO INSIDERS                               0                0



                                                    PROFESSIONALS
                          DATE OF COURT ORDER        AMOUNT          AMOUNT        TTL PAID       TOTAL INCURRED
           NAME          AUTHORIZING PAYMENT        APPROVED          PAID         TO DATE           & UNPAID
1.
2.
3.
4.
5.
TOTAL PAYMENTS TO PROFESSIONALS                              0                0               0                0


POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE PROTECTION PAYMENTS

                                                   SCHEDULED        AMOUNTS         TOTAL
                                                    MONTHLY           PAID          UNPAID
              NAME OF CREDITOR                     PAYMENTS          DURING          POST-
                                                      DUE            MONTH         PETITION
1.
2.
3.
4.
5.
6. TOTAL                                                 0                    0          0
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  CASE NAME:     Foundation Healthcare, Inc.


  CASE NUMBER:    17-42571
                                                                                    MONTH:             June


                     QUESTIONNAIRE
                                                                                                 YES          NO
                      1. HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                         THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?                                 X
                      2. HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                         OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?                                           X
                      3. ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES OR
                         LOANS) DUE FROM RELATED PARTIES?                                                     X
                      4. HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                         THIS REPORTING PERIOD?                                                               X
                      5. HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                         DEBTOR FROM ANY PARTY?                                                               X
                      6. ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                         X
                      7. ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                         PAST DUE?
                      8. ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                     X
                      9. ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                           X
                      10. ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                          DELINQUENT?                                                                         X
                      11. HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                          REPORTING PERIOD?                                                                   X
                      12. ARE ANY WAGE PAYMENTS PAST DUE?                                                     X


                     IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES"; PROVIDE A DETAILED
                     EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                     INSURANCE
                                                                                                 YES          NO
                      1. ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                         NECESSARY INSURANCE COVERAGES IN EFFECT?                                             NA

                      2. ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                               NA
                      3. PLEASE ITEMIZE POLICIES BELOW                                                        NA


                     IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO" OR IF ANY POLICIES HAVE
                     BEEN CANCELED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN
                     EXPLANATION BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.
                             No employees remaining in Foundation Healthcare.




                     INSTALLMENT PAYMENTS
                                 TYPE OF                                         PERIOD         PAYMENT AMOUNT
                                 POLICY                 CARRIER                 COVERED           & FREQUENCY
                                   None
